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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA


 IN RE: BROILER CHICKEN GROWER                           No. 6:20-md-02977-RJS-CMR
 LITIGATION
                                                         Hon. Robert J. Shelby
 This Document Relates To All Cases                      Hon. Cecilia M. Romero




               NOTICE RE ORDER GRANTING PLAINTIFFS’ MOTION TO
                  PROVISIONALLY FILE DOCUMENT UNDER SEAL
          PLEASE TAKE NOTICE THAT, in response to this Court’s Order Granting Plaintiffs’

Motion To Provisionally File Document Under Seal (ECF No. 91) (“Order”), counsel for

Plaintiffs immediately forwarded a copy of the Order to counsel for House of Raeford Farms,

Inc. (“HRF”). Counsel for HRF informed Plaintiffs’ counsel by email, dated May 21, 2021, that

HRF does not oppose the public filing of Plaintiffs’ Status Report Regarding Non-Party House of

Raeford Farms, Inc.’s Compliance with Subpoenas (ECF No. 90). Accordingly, Plaintiffs

withdraw their motion and respectfully request that the Status Report be filed on the public

docket.

Dated: May 21, 2021                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


       I hereby certify that on May 21, 2021, I electronically transmitted a true and correct copy

of the foregoing document to the Clerk of Court for filing using the CM/ECF system, which will

send notification of such filing to all counsel of record, and that I caused an email to be sent to

counsel for House of Raeford Farms, Inc.

                                          /s/ Gary I Smith, Jr._________
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